

Consolidated Edison Co. of N.Y., Inc. v East Coast Power &amp; Gas LLC (2024 NY Slip Op 00800)





Consolidated Edison Co. of N.Y., Inc. v East Coast Power &amp; Gas LLC


2024 NY Slip Op 00800


Decided on February 15, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 15, 2024

Before: Manzanet-Daniels, J.P., Kapnick, Shulman, Pitt-Burke, JJ. 


Index No. 653716/21 Appeal No. 1661 Case No. 2022-04744 

[*1]Consolidated Edison Company of New York, Inc., Plaintiff-Appellant,
vEast Coast Power &amp; Gas LLC, Defendant-Respondent, Anthony Milanese et al., Defendants.


Proman Legal, P.C., New York (Jonathan M. Proman of counsel), for appellant.
Levitt LLP, Mineola (James E. Brandt of counsel), for respondent.



Order, Supreme Court, New York County (Barry R. Ostrager, J.), entered September 13, 2022, which denied Con Edison's motion to dismiss the fourth counterclaim for an accounting asserted by defendant East Coast Power &amp; Gas LLC, unanimously affirmed, with costs.
Although the parties focus on whether a fiduciary relationship existed sufficient to warrant an equitable accounting, this is an action for money damages, i.e., an action at law (see C adwalder Wickersham &amp; Taft v Spinale, 177 AD2d 315 [1st Dept 1991]). The subject complaint is a breach of contract action seeking money damages for amounts allegedly owed to Con Edison by East Coast, and the accounting was "merely a method to determine the amount of monetary damages," with the equitable fourth counterclaim for an accounting "primarily incidental to the defenses at law" (Abrams v Rogers , 195 AD2d 349, 350 [1st Dept 1993]). Further, Con Edison provided two accountings prior to the court's order without objection (see Corcoran v Ardra Ins. Co. , 166 AD2d 250, 251 [1st Dept 1990]).
Contrary to Con Edison's contention, Supreme Court did not improperly grant the ultimate relief sought by East Coast's accounting counterclaim as part of discovery (Macklowe v 42nd St. Dev. Corp. , 157 AD2d 566, 567 [1st Dept 1990]), as this was an action for money damages, whereby Supreme Court repeatedly ordered an accounting of "comprehensible, reliable data," by which the parties "can intelligently discuss a mediated resolution of their disputes."
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 15, 2024








